     Case 2:24-cv-10444-SSC   Document 18-1   Filed 05/12/25   Page 1 of 2 Page ID #:87
                     SCHEDULE OF PRETRIAL AND TRIAL DATES



                                                Recommended              Stipulated Dates
                 Matter
                                                 Number Of                  (may differ
                                                Weeks Before                   from
                                                    FPTC                  recommended)
            Tuesday at 8:30
am




         in Limine


             Voir Dire




                     in Limine




             hearing




                                        Exhibit A
                                           9                                   Revised J
Case 2:24-cv-10444-SSC   Document 18-1   Filed 05/12/25   Page 2 of 2 Page ID #:88




                                   Exhibit A
                                      10                                  Revised J
